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    EXHIBIT A
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                            FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

           MARK JONES; MICHAEL MCKEE,                 No. 22-35447

                         Plaintiffs-Appellants,     D.C. No. 3:21-cv-
                                                      05666-DGE
             v.

           FORD MOTOR COMPANY, a                       OPINION
           Delaware Corporation,

                         Defendant-Appellee.

                  Appeal from the United States District Court
                    for the Western District of Washington
                  David G. Estudillo, District Judge, Presiding

                    Argued and Submitted August 22, 2023
                             Seattle, Washington

                            Filed October 27, 2023

            Before: Michael Daly Hawkins, Susan P. Graber, and M.
                     Margaret McKeown, Circuit Judges.

                              Per Curiam Opinion
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                                     SUMMARY *


                 Article III Standing / Washington Privacy Act

               The panel affirmed the district court’s judgment
           dismissing for failure to state a claim a class action alleging
           that the Ford Motor Company made unlawful recordings of
           plaintiffs’ private communications in violation of the
           Washington Privacy Act (“WPA”).
               The panel rejected plaintiffs’ request for remand to the
           Washington state court because it was based on the flawed
           argument that Ford “self-rebutted the assertion of Art. III
           jurisdiction” when it alleged that plaintiffs failed to plead a
           statutory injury under the WPA in its motion to dismiss. The
           injury-in-fact prong of Article III standing and the merits of
           a WPA claim are separate inquiries. With respect to
           constitutional injury-in-fact, the complaint’s allegations
           plausibly articulated an Article III injury because they
           claimed violation of a substantive privacy right. Article III
           standing was thus satisfied, and the district court properly
           retained jurisdiction.
               Turning to the merits of the WPA claim, the panel
           rejected plaintiffs’ claim that a violation of the WPA itself is
           an invasion of privacy that constitutes remediable injury. An
           invasion of privacy, without more, is insufficient to meet the
           statutory injury requirements of WPA Section
           9.73.060. Plaintiffs must allege an injury to “his or her



           *
            This summary constitutes no part of the opinion of the court. It has
           been prepared by court staff for the convenience of the reader.
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           business, his or her person, or his or her reputation.” Wash.
           Rev. Code § 9.73.060. Plaintiffs failed to do so here.



                                   COUNSEL

           Joel Ard (argued), Ard Law Group PLLC, Bainbridge
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           San Diego, California; for Plaintiffs-Appellants.
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           Minnesota; Eric B. Wolff (argued), Perkins Coie LLP,
           Seattle, Washington; Anthony Todaro and Jeffrey B.
           DeGroot, DLA Piper LLP (US), Seattle, Washington; for
           Defendants-Appellees.



                                   OPINION

           PER CURIAM:

               Plaintiffs Mark Jones and Michael McKee appeal the
           dismissal of their class action alleging that the Ford Motor
           Company (“Ford”) made unlawful recordings of their
           private communications in violation of the Washington
           Privacy Act (“WPA”).
           I. BACKGROUND
               Ford manufactures and sells automobiles with integrated
           infotainment systems that allow drivers and passengers to
           use their cellphones hands-free while operating Ford
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           vehicles. According to the complaint, as part of this design,
           the infotainment system automatically downloads, copies,
           and indefinitely stores the call logs and text messages of any
           cellphone connected to it. If text messages or call logs are
           deleted from a cellphone, the vehicle nevertheless retains the
           communications on the vehicle’s on-board memory, even
           after the cellphone is disconnected. Vehicle owners cannot
           access or delete their personal information once it has been
           stored.
               Plaintiff Jones owns a Ford vehicle equipped with such
           a system. He exchanged private text messages with Plaintiff
           McKee before subsequently connecting his cellphone to the
           vehicle’s on-board infotainment system. Both Plaintiffs
           allege that their private communications were unlawfully
           recorded from Plaintiff Jones’s cellphone and permanently
           stored on his Ford vehicle in violation of the WPA. Plaintiffs
           do not allege, however, that Ford actually accessed the
           personal communications on the vehicle. Instead, Plaintiffs
           allege that the information may be accessed by a third-party
           company, for example, the Berla Corporation (“Berla”).
           According to the Plaintiffs, Berla produces hardware and
           software capable of extracting stored text messages and call
           logs stored on a vehicle’s on-board memory. Berla products
           are not generally available to the public, and sales access is
           restricted to law enforcement, the military, civil and
           regulatory agencies, and select private investigation service
           providers.
               Plaintiffs initially filed their complaint in Washington
           state court. Ford removed to federal court under the Class
           Action Fairness Act (“CAFA”), and Plaintiffs did not
           challenge removal. Ford then moved to dismiss the
           operative complaint under Federal Rule of Civil Procedure
           (“Rule”) 12(b)(6) for failure to state a claim. The district
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           court granted the motion to dismiss on two alternative
           grounds: (1) Plaintiffs failed to allege an injury to their
           “person,” “business,” or “reputation,” as the WPA requires,
           and (2) Ford did not violate the WPA merely by
           manufacturing and selling vehicles with infotainment
           systems. Plaintiffs timely appealed.
           II. STANDARD OF REVIEW
               We review de novo a district court’s determination
           whether a party has standing. See Tailford v. Experian Info.
           Sols., Inc., 26 F.4th 1092, 1098 (9th Cir. 2022). We also
           review de novo a district court’s dismissal for failure to state
           a claim under Rule 12(b)(6). Dougherty v. City of Covina,
           654 F.3d 892, 897 (9th Cir. 2011).
           III. DISCUSSION
              A. Jurisdiction.
               Article III of the Constitution limits the “Judicial Power”
           of the federal courts to “Cases, in Law and Equity, arising
           under this Constitution [and] the Laws of the United States.”
           U.S. CONST. art. III, § 2, cl. 1. “[A]ny civil action brought
           in a State court of which the district courts of the United
           States have original jurisdiction, may be removed by the
           defendant . . . .” 28 U.S.C. § 1441(a). Upon removal, the
           burden to demonstrate Article III jurisdiction shifts to the
           Defendant as “[t]he party invoking federal jurisdiction.”
           Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992); see also
           Tailford, 26 F.4th at 1099. Plaintiffs ask the court to remand
           this case to the Washington state court by applying a “strong
           presumption against removal jurisdiction.” But no such
           presumption applies when a case is removed under CAFA.
           Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81,
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           89 (2014); Jauregui v. Roadrunner Transp. Servs., Inc., 28
           F.4th 989, 992–93 (9th Cir. 2022).
               Plaintiffs seek remand based on the flawed argument that
           Ford “self-rebutted the assertion of Art. III jurisdiction”
           when it alleged that Plaintiffs failed to plead a statutory
           injury under the WPA in its motion to dismiss. This we
           decline to do. Plaintiffs’ challenge fails because the injury-
           in-fact prong of Article III standing and the merits of a WPA
           claim are separate inquiries. See Maya v. Centex Corp., 658
           F.3d 1060, 1068 (9th Cir. 2011).              To establish the
           constitutional minimum for Article III jurisdiction, a
           plaintiff must plead an injury-in-fact; this creates a pleading
           floor. A particular cause of action may require more—for
           instance, a particular type of injury or a threshold magnitude
           of injury—without raising the constitutional pleading floor.
           A failure to plead the more-specific or more-demanding
           statutory injury shows a failure to state a claim, not a failure
           to establish standing. See Salmon Spawning & Recovery All.
           v. Gutierrez, 545 F.3d 1220, 1225 (9th Cir. 2008) (“If a
           plaintiff has shown sufficient injury to satisfy Article III, but
           has not been granted statutory standing, the suit must be
           dismissed under Federal Rule of Civil Procedure 12(b)(6),
           because the plaintiff cannot state a claim upon which relief
           can be granted.”). As such, demanding that Plaintiffs plead
           a WPA-specific injury to establish jurisdiction “conflate[s]
           standing with the merits.” See Lazar v. Kroncke, 862 F.3d
           1186, 1198–99 (9th Cir. 2017).
               With respect to constitutional injury-in-fact, the relevant
           law is settled. A statute that codifies a common law privacy
           right “gives rise to a concrete injury sufficient to confer
           standing.” In re Facebook, Inc. Internet Tracking Litig., 956
           F.3d 589, 598 (9th Cir. 2020). And this court has
           consistently found that “[v]iolations of the right to privacy
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           have long been actionable at common law.” Eichenberger
           v. ESPN, Inc., 876 F.3d 979, 983 (9th Cir. 2017); see also
           Patel v. Facebook, Inc., 932 F.3d 1264, 1272–73 (9th Cir.
           2019). The WPA codifies such substantive privacy rights
           and “is one of the most restrictive electronic surveillance
           laws ever promulgated.” State v. Roden, 321 P.3d 1183,
           1185 (Wash. 2014) (en banc); see also State v. Clark, 916
           P.2d 384, 391–92 (Wash. 1996) (en banc).
               Here, the complaint alleges that the vehicle’s system
           downloads all text messages and call logs from Plaintiffs’
           cellphones as soon as they are connected. The complaint
           also alleges that the infotainment system permanently stores
           the private communications without Plaintiffs’ knowledge
           or consent. At the pleading stage, those allegations plausibly
           articulate an Article III injury because they claim violation
           of a substantive privacy right. See Eichenberger, 876 F.3d
           at 983. Whether Plaintiffs “will be successful on the merits
           in [this] suit against [Ford] does not affect whether [they
           have] standing to pursue such a suit.” Iten v. Los Angeles,
           No. 22-55480, 2023 WL 5600292, at *8 (9th Cir. Aug. 30,
           2023) (citation omitted). Article III standing is thus
           satisfied, and the district court properly retained jurisdiction
           to hear this case.
              B. Injury.
               To bring a claim under the WPA, a plaintiff must show
           that “a violation of [the WPA] has injured his or her
           business, his or her person, or his or her reputation. A person
           so injured shall be entitled to actual damages . . . or
           liquidated damages.” WASH. REV. CODE § 9.73.060. On
           appeal, Plaintiffs claim that a violation of the WPA itself is
           an invasion of privacy that constitutes remediable injury.
           But the statutory text does not support their interpretation.
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               It is well established that “[s]tatutes must be interpreted
           and construed so that all the language used is given effect,
           with no portion rendered meaningless or superfluous.”
           Whatcom Cnty. v. City of Bellingham, 909 P.2d 1303, 1308
           (Wash. 1996) (en banc); see also Corley v. United States,
           556 U.S. 303, 314 (2009). If Plaintiffs’ understanding of the
           statute were sufficient to establish a claim, WPA
           Section 9.73.060 would be surplusage because a violation of
           the statute alone, without more, would automatically satisfy
           an injury to the person. Yet, the statute expressly requires
           an injury to one’s business, person, or reputation. We find it
           difficult to believe Washington intended such a redundant
           outcome.
               This issue has been percolating through district courts in
           our circuit, and they have reached the same conclusion. See,
           e.g., Brinkley v. Monterey Fin. Servs., LLC, 340 F. Supp. 3d
           1036, 1044–45 & n.3 (S.D. Cal. 2018) (finding that the
           invasion of privacy inherent in the unauthorized recording of
           an individual’s conversation, without more, is insufficient to
           meet the Section 9.73.060 injury requirement); Russo v.
           Microsoft Corp., No. 4:20-cv-04818-YGR, 2021 WL
           2688850, at *3 n.3 (N.D. Cal. June 30, 2021) (finding that
           the WPA’s cause of action applies only to those claiming
           that a violation has injured business, person, or reputation).
               We embrace this analysis and hold that an invasion of
           privacy, without more, is insufficient to meet the statutory
           injury requirements of Section 9.73.060. To succeed at the
           pleading stage of a WPA claim, Plaintiffs must allege an
           injury to “his or her business, his or her person, or his or her
           reputation.” WASH. REV. CODE § 9.73.060. Plaintiffs failed
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          to do so here. 1 We note that Plaintiffs were given an
          opportunity to amend their complaint but declined to do so.
              AFFIRMED.




          1
           Because our injury determination dispositively resolves this case, we
          need not address the district court’s alternative holding that the WPA
          does not extend liability to manufacturing. See Johnson v. Riverside
          Healthcare Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008).
